                         IN THE SUPREME COURT
                         STATE OF NORTH DAKOTA

                                      2024 ND 167


State of North Dakota,                                             Plaintiff and Appellee

     v.

Ladarius T. Miller,                                             Defendant and Appellant


                                     No. 20240039

Appeal from the District Court of Grand Forks County, Northeast Central Judicial District,
the Honorable Lolita G. Hartl Romanick, Judge.

REVERSED.

Opinion of the Court by Crothers, Justice.

Megan J. Kvasager Essig, Assistant State’s Attorney, Grand Forks, ND, for plaintiff and
appellee; on brief.

Samuel A. Gereszek, Grand Forks, ND, for defendant and appellant; on brief.
                                        State v. Miller
                                        No. 20240039

Crothers, Justice.

[¶1] Ladarius Miller appeals from an order granting the State’s motion for restitution.
Miller argues the district court abused its discretion when it imposed extradition costs as
restitution for the theft of property crime he committed. We reverse, holding the court
misapplied the law when it ordered extradition costs as restitution because those expenses
are not directly related to, or incurred as a direct result of, the criminal conduct Miller
committed. We also hold imposition of extradition expenses as a cost of the prosecution is
not permissible because it would contravene Miller’s binding plea agreement.

                                               I

[¶2] The State charged Miller with theft of property and deceptive writings, alleging he
used falsified paystubs to purchase a vehicle from an automotive dealership in Grand
Forks. The State issued a warrant for Miller’s arrest, and the Grand Forks County Sheriff’s
Department apprehended Miller in Oregon and returned him to Grand Forks. Miller
pleaded guilty to theft of property. Under the terms of the plea agreement, Miller agreed to
serve a term of imprisonment, pay various fees, pay $800 in restitution, and to leave
restitution open for sixty days. The district court entered judgment sentencing Miller
according to the terms of the agreement. The State subsequently moved for additional
restitution for costs associated with extraditing Miller from Oregon, including a two-day
salary for the transporting officer, airline tickets, hotel expenses, rental car expenses, meals,
and parking fees. Following a restitution hearing, the district court granted the State’s
motion and ordered Miller to pay $2,435.91 in restitution to Grand Forks County. Miller
appeals.

                                               II

[¶3] Miller argues the district court erred when it ordered restitution for extradition
expenses because the State is not a victim of his crime and the costs of extradition are not
related to his criminal conduct.

[¶4] Victims of crime have a constitutional right “to full and timely restitution in every
case and from each offender for all losses suffered by the victim as a result of the criminal
or delinquent conduct.” N.D. Const. art. I, § 25(1)(n). Section 12.1-32-02(1)(e), N.D.C.C.,
authorizes the district court to order restitution “for damages resulting from the commission

                                               1
of the offense.” When ordering restitution, the court is required to “take into account the
reasonable damages sustained by the victim,” and must limit its order to damages that are
“directly related to the criminal offense and expenses actually sustained as a direct result
of the defendant’s criminal action.” N.D.C.C. § 12.1-32-08(4).

[¶5] When deciding an appeal from a restitution order, we apply the following standard
of review:

       “[W]e look to whether the district court acted within the limits set by statute,
       which is a standard similar to our abuse of discretion standard. A district
       court abuses its discretion if it acts in an arbitrary, unreasonable, or
       unconscionable manner, if its decision is not the product of a rational mental
       process leading to a reasoned determination, or if it misinterprets or
       misapplies the law.”

State v. Bruce, 2018 ND 45, ¶ 4, 907 N.W.2d 773 (internal quotations and citations
omitted) (quoting State v. Carson, 2017 ND 196, ¶ 5, 900 N.W.2d 41). Statutory
interpretation presents a question of law that is fully reviewable on appeal. State v.
McCreary, 2021 ND 212, ¶ 8, 967 N.W.2d 447.

       “Our primary goal in interpreting statutes is to ascertain the Legislature’s
       intentions. In ascertaining legislative intent, we first look to the statutory
       language and give the language its plain, ordinary and commonly understood
       meaning. We interpret statutes to give meaning and effect to every word,
       phrase, and sentence, and do not adopt a construction which would render
       part of the statute mere surplusage. When a statute’s language is ambiguous
       because it is susceptible to differing but rational meanings, we may consider
       extrinsic aids, including legislative history, along with the language of the
       statute, to ascertain the Legislature’s intent. We construe ambiguous criminal
       statutes against the government and in favor of the defendant.”

State v. Gaddie, 2022 ND 44, ¶ 17, 971 N.W.2d 811 (quoting McCreary, at ¶ 8).

                                              A

[¶6] The State asserts Miller cannot challenge the restitution order because he failed to
request a hearing as required by N.D.C.C. § 12.1-32-08(3), which provides:

       “The defendant may challenge restitution but must do so by requesting a
       hearing within thirty days of being served with the written notification of the
       amount of restitution requested. The hearing request must be made in writing
       and filed with the court. If no hearing is requested, the court may enter a

                                              2
       judgment ordering restitution. A defendant may not challenge restitution
       after the thirty-day time period has passed.”

The district court allowed Miller to contest restitution in this case, finding the State failed
to provide Miller with notice of the N.D.C.C. § 12.1-32-08(3) thirty-day deadline. The
court also noted the State itself requested a hearing and reasoned “it is not unreasonable
for the Defendant to assume the matter would be addressed at a hearing and it is illogical
to require him to request a hearing when one was already set.” We agree. The law does not
require idle acts. N.D.C.C. § 31-11-05(23). Under these circumstances, Miller is not
precluded from challenging the restitution order for failure to request a hearing.

                                              B

[¶7] Miller argues the district court’s order for restitution is impermissible because the
costs of extradition are not related to the crime he pleaded guilty to committing.

[¶8] Under N.D.C.C. § 12.1-32-08(4), restitution must be limited to reasonable damages
“directly related” to the offense or expenses sustained as a “direct result” of the defendant’s
criminal action. We have interpreted this language to mean “an immediate and intimate
causal connection between the criminal conduct and the damages or expenses for which
restitution is ordered.” Carson, 2017 ND 196, ¶ 6, (quoting State v. Pippin, 496 N.W.2d
50, 52-53 (N.D. 1993)); see also State v. Gonzales, 2023 ND 202, ¶ 4-5, 997 N.W.2d 97(reversing restitution order for property stolen from vehicle after conviction for unlawful
use of personal identifying information); State v. Harstad, 2020 ND 151, ¶ 14, 945 N.W.2d
265 (reversing restitution order for unrecovered personal property after conviction for
possession of a stolen vehicle); Bruce, 2018 ND 45, ¶ 7, (affirming restitution order for
funeral expenses after conviction for negligent homicide).

[¶9] The State relies on State v. Rogers, 2018 ND 244, 919 N.W.2d 193, for the
proposition that extradition costs may be awarded as restitution for criminal conduct. The
State reads Rogers too broadly. There a defendant was charged with gross sexual
imposition and failed to appear at trial. Id. at ¶ 2. He was extradited from Thailand and
charged with bail-jumping. Id. He pleaded guilty to both charges, and the district court
ordered he pay restitution for the costs of extradition. Id.at ¶ 23. He argued on appeal that
imposition of restitution for extradition costs in the GSI case was legal error. Id. We
affirmed the restitution order because he pleaded guilty to bail jumping in addition to GSI.
Id. at ¶ 25 (“Our holdings in Carson and Pippin do not preclude restitution here. Rogers
pled guilty to both the GSI and the bail-jumping charges.”). The cost of extraditing the

                                              3
defendant was directly related to the criminal act of bail-jumping in the GSI case. See id.
(“It was his criminal action of fleeing from the GSI prosecution that directly resulted in the
bail-jumping charge and the cost to return him for trial.”) (emphasis in original). We did
not hold extradition costs may be ordered as restitution for criminal conduct any time such
costs are incurred.

[¶10] Unlike Rogers, the extradition costs in this case are not directly related to Miller’s
criminal conduct. First, there is no evidence Miller fled the state with the requisite criminal
intent to support some type of criminal charge related to him leaving the state. Nor did the
State bring such a charge. The criminal conduct committed in this case was theft of property
by deception. The costs incurred by law enforcement for the salary of an officer, airline
tickets, hotel expenses, rental car expenses, meals, and parking fees are, at most, indirectly
related to the criminal conduct Miller pleaded guilty to committing. An indirect connection
is not sufficient. Our law requires a “direct” connection, which we have consistently
interpreted to mean “an immediate and intimate causal connection.” See supra, at ¶ 8. The
district court erred as a matter of law when it ordered Miller to pay restitution for costs
incurred by the County that are not directly related to his criminal conduct or incurred as a
direct result of it. Having determined restitution for extradition costs is impermissible in
this case, we need not address Miller’s argument that the County of Grand Forks is not a
victim of his crime.

                                              C

[¶11] The State asserts imposition of extradition costs was permissible because the district
court is authorized to impose costs of a person’s prosecution as a sentencing alternative.

[¶12] Under N.D.C.C. § 12.1-32-02, the district court generally must impose “one or a
combination of the following alternatives” when sentencing a criminal defendant. These
alternative punishments include probation, imprisonment, a fine, restitution, and
“[p]ayment of the reasonable costs of the person’s prosecution.” Id. This Court has
determined imposition of costs of prosecution as part of a criminal sentence is
constitutional. See State v. Marinucci, 321 N.W.2d 462, 467 (N.D. 1982) (affirming district
court award of $600 in costs against a defendant for travel expenses of State’s witnesses).

[¶13] Although the district court labeled the costs of extradition it imposed “restitution”
in its order and judgment, the court cited N.D.C.C. § 12.1-32-02(1)(a) and explained
“reasonable costs of prosecution include extradition costs.” We agree imposition of
prosecution costs is a sentencing alterative available to the court. But we disagree the court

                                              4
was authorized to impose prosecution costs in this case. Miller entered a binding plea
agreement with the State. Miller agreed to a specific term of imprisonment, various fees,
and to leave the question of restitution open. In exchange, the State agreed to dismiss a
charge for issuing a deceptive writing. The court accepted Miller’s plea and entered
judgment. The court was not authorized to later add the costs of prosecution as an additional
punishment. See State v. Fischer, 2024 ND 29, ¶ 14, 3 N.W.3d 142 (stating a court is
generally bound by the terms of a plea agreement it has accepted); see also N.D.R.Civ.P.
11(c)(5) (stating if the court rejects a binding plea it must give the defendant an opportunity
to withdraw the plea). We reject the State’s contention that imposition of extradition
expenses was permissible as a cost of prosecution in this case.

                                             III

[¶14] The district court misapplied the law when it ordered Miller to pay $2,435.91 in
restitution for extradition expenses because those expenses are not related to the criminal
conduct Miller committed. The imposition of extradition expenses as a cost of the
prosecution is not permissible because it would contravene Miller’s binding plea
agreement. The restitution order is reversed.

[¶15] Jon J. Jensen, C.J.
      Daniel J. Crothers
      Lisa Fair McEvers
      Jerod E. Tufte
      Douglas A. Bahr




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